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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF IDAHO


 Lindsay Hecox, et al.,                               Case No. 1:20-cv-00184-DCN

         Plaintiffs,                                  Hon. David C. Nye

 v.                                                   SUPPLEMENTAL STIPULATED
                                                      FACTS IN RESPONSE TO DISTRICT
 Bradley Little, et al.,                              COURT ORDER DATED MARCH 16,
                                                      2022
         Defendants.




        On March 16, 2022, the Court ordered the parties to file supplemental stipulated facts

“updating the Court on the status of Plaintiff Lindsay Hecox’s enrollment at Boise State University

(“BSU”), and specifically addressing whether she is still enrolled in nine credits, and attending

such classes, at BSU this semester,” as well as “whether: (1) Hecox has joined and is playing for

BSU Women’s Club Soccer Team; and (2) she still intends to try out for the BSU Women’s Cross

Country Team in the Fall of 2022.” (Dkt. No. 101). In response, the parties stipulate to the

following facts:

Lindsay Hecox’s Enrollment at BSU

1.      Lindsay Hecox is enrolled at BSU.

2.      Lindsay Hecox qualified for in-state tuition at BSU.

3.      Lindsay Hecox is enrolled in nine credits this Spring 2022 semester.

4.      Lindsay Hecox is attending her classes.

Lindsay Hecox’s Participation in BSU Women’s Club Soccer

5.      Lindsay Hecox joined and is playing for the BSU Women’s Club Soccer team.




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Lindsay Hecox’s Intention to Try Out for the BSU Women’s Cross-Country Team in Fall

2022

6.     Lindsay Hecox says she still intends to try out for the BSU Women’s Cross-Country Team

in Fall 2022.

Change to NCAA Transgender Participation Policy

7.     In paragraph 21 of the Stipulated Facts in Response to Ninth Circuit Order Dated June 24,

2021 (Dkt. No. 92), the parties stated: “NCAA policy requires Lindsay Hecox to complete at least

12 months of testosterone suppression treatment leading up to the Fall 2022 semester to compete

on the women’s track and cross country teams.” The parties wish to alert the Court that in January

2022, the NCAA Board of Governors updated the transgender student-athlete participation policy

governing college sports. Information about the NCAA’s revised policy is available at

https://www.ncaa.org/sports/2022/1/27/transgender-participation-policy.aspx.

       DATED this 13th day of April, 2022.



By: /s/ Kathleen Hartnett                           By: /s/ W. Scott Zanzig
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Counsel for Plaintiffs                              Deputy Attorney General
                                                    Counsel for Defendants

                                                    By: /s/ Roger E. Brooks
                                                    ROGER E. BROOKS
                                                    Counsel for Intervenors




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on April 13, 2022, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which sent a Notice of Electronic Filing to the
following persons:


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